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                               Exhibit 5

                         Plan Support Agreement
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                            PLAN SUPPORT AGREEMENT

        This PLAN SUPPORT AGREEMENT (this “Plan Support Agreement”) is made
and entered into as of June 24, 2021 (the “Effective Date”) by and between Buckingham
Senior Living Community, Inc. (the “Borrower”) and each of the undersigned holders of
Bonds (as defined herein) (the “Consenting Holders”, and together with the Borrower, each
a “Party” and collectively the “Parties”).

                                         RECITALS

        A.     The Tarrant County Cultural Education Facilities Finance Corporation (the
“Issuer”) issued its: (i) Tarrant County Cultural Education Facilities Finance Corporation
Retirement Facility Revenue Bonds (Buckingham Senior Living Community, Inc. Project),
Series 2007 (the “Series 2007 Bonds”) pursuant to that certain Indenture of Trust dated as
of July 1, 2007 (the “2007 Original Indenture”), between the Issuer and UMB Bank, N.A.,
as successor bond trustee (the “Bond Trustee”), (ii) Tarrant County Cultural Education
Facilities Finance Corporation Retirement Facility Revenue Bonds (Buckingham Senior
Living Community, Inc. Project), Series 2014 (the “Series 2014 Bonds”) pursuant to the
2007 Indenture, as supplemented by Supplement No. 1 to the Indenture of Trust, dated as
of September 1, 2014 (the 2007 Original Indenture, as supplemented, the “2014 Indenture”)
and (iii) Tarrant County Cultural Education Facilities Finance Corporation Retirement
Facility Revenue Bonds (Buckingham Senior Living Community, Inc. Project), Series
2015A Fixed Rate, Series 2015B-1 Tax Exempt Mandatory Paydown Securities (TEMP-
80) and Series 2015B-2 Tax Exempt Mandatory Paydown Securities (TEMP- 50) (the
“Series 2015 Bonds” and together with the Series 2007 Bonds and Series 2014 Bonds, the
“Bonds”) pursuant to that certain Indenture of Trust, dated as of August 1, 2015 (the “2015
Indenture” and together with the 2007 Indenture and the 2014 Indenture, the “Bond
Indentures”).

        B.      Proceeds of the Bonds were loaned by the Issuer to the Borrower pursuant
to the Loan Agreement dated July 1, 2007 between the Borrower and the Issuer (as
amended by the Amendment No. 1 to the Loan Agreement dated September 1, 2014) and
the Loan Agreement dated August 1, 2015 (collectively, the “Loan Agreements”) primarily
to (i) finance the construction, renovation and equipping of the Borrower’s retirement
community known as “The Buckingham” located in Houston, Texas (the “Community”),
(ii) fund debt service reserve funds; (iii) pay a portion of the interest on the Bonds; and (iv)
pay certain expenses incurred in connection with the issuance of the Bonds.

        C.      The rights of the Issuer under the Loan Agreements were assigned to the
Bond Trustee. In addition, as security for its obligations with respect to the Bonds, the
Borrower entered into that certain Master Trust Indenture, Deed of Trust and Security
Agreement dated as July 1, 2007, as supplemented by the Supplemental Indenture Number
1, dated as of July 1, 2007, the Supplemental Indenture Number 2, dated as of September
1, 2014 and the Supplemental Indenture Number 3, dated as of August 1, 2015 (as
supplemented, the “Master Indenture”) between the Borrower and UMB Bank, N.A., as
successor master trustee (the “Master Trustee” and together with the Bond Trustee, the
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“Trustee”) pursuant to which the Borrower granted the Master Trustee a security interest
against substantially all of the Borrower’s assets as described in the Master Indenture and
that certain Deed of Trust and Security Agreement dated October 8, 2014, as modified by
the Modification Agreement dated effective August 1, 2015 (as modified, the “Deed of
Trust”), between the Borrower and the Master Trustee (all such collateral so granted under
the Bond Documents (as defined below), the “Collateral”).

        D.      The Bond Indentures, the Loan Agreements, the Master Indenture, the
Deed of Trust and any other document or agreement delivered as security for, or in respect
to, the Bonds or the Borrower’s obligations under any of such documents are collectively
referred to herein as the “Bond Documents.”

        E.      Each Consenting Holder holds debt arising out of, or related to, the Bonds
and the Consenting Holders hold debt, in aggregate, arising out of or related to the Bonds
equal to at least sixty nine (69%) of the principal amount of the Bonds outstanding.

       F.      Defaults, potential defaults or Events of Default have occurred (or will
occur) under the Bond Documents.1

         G.     The Borrower desires to implement a restructuring (the “Restructuring”) of
its financial obligations with respect to the Bonds and its other outstanding obligations on
the terms and conditions set forth in the restructuring term sheet (including all exhibits
therein, the “Term Sheet”) attached hereto as Exhibit 1.

       H.     The Consenting Holders have agreed to the Restructuring, solely on the
terms and conditions outlined in the Term Sheet.

        I.       The Borrower intends to implement the Restructuring by filing a voluntary
petition for relief under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy
Code”) commencing a case (the “Chapter 11 Case”) in the United States Bankruptcy Court
for the Southern District of Texas (the “Bankruptcy Court”) no later than June 25, 2021
(the “Outside Petition Date”).

        J.     Each Party has reviewed, or has had the opportunity to review, this Plan
Support Agreement and the Term Sheet with the assistance of professional legal advisors
of its own choosing.

                              STATEMENT OF AGREEMENT

        In consideration of the premises and the mutual covenants and agreements set forth
herein, and for other good and valuable consideration, the receipt and sufficiency of which
are hereby acknowledged, the Parties, intending to be legally bound, agree as follows:



1
     Capitalized terms not otherwise defined herein have the meaning ascribed to such term in the Bond
     Documents, as applicable.
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       1. Preliminary Statements. The statements set forth in the recitals are
incorporated herein and form an integrated part of this Plan Support Agreement, subject to
such modifications and amendments as may be permitted pursuant to Section 11 hereof.

       2. Effectiveness of Plan Support Agreement. Upon the execution of this Plan
Support Agreement by the Parties, this Plan Support Agreement will constitute the legally
binding and enforceable agreement of the Parties, effective as of the Effective Date.

       3. Agreements of the Borrower. Consistent with the Borrower’s business
judgment and the exercise of its fiduciary duties, the following are material covenants and
conditions to the agreements contained herein:

               (a)      The Borrower shall take all reasonable efforts to provide drafts of
       the following documents (collectively, the “Bankruptcy Documents”) in form and
       substance reasonably satisfactory to the Consenting Holders and the Trustee no
       later than five (5) business days prior to the Outside Petition Date:

                      i)      Chapter 11 Petition with required documents, including: (i)
                              officer’s certificate, (ii) board resolutions, (iii) top 30
                              creditors list, (iv) Rule 1007(a)(1) corporate ownership
                              statement, (v) Rule 1007(a)(3) list of equity security holders,
                              (vi) declaration of electronic filing, and (vii) declaration
                              regarding attorney compensation;

                      ii)     Declaration in Support of Voluntary Petition and First Day
                              Motions;

                      iii)    Notice of Designation as Complex Chapter 11 Case and
                              proposed Order;

                      iv)     Emergency Motion for Interim and Final Orders
                              (i) Authorizing Post-Petition Financing, (ii) Authorizing Use
                              of Cash Collateral, (iii) Granting Liens and Providing Super-
                              Priority Administrative Expense Status, (iv) Granting
                              Adequate Protection, (v) Modifying Automatic Stay, and
                              (vi) Granting Related Relief (the “DIP Motion”) and
                              proposed interim and final Orders (together, the “DIP
                              Orders”);

                      v)      Plan of Reorganization (the “Plan”);

                      vi)     Disclosure Statement with respect to the Plan of
                              Reorganization (the “Disclosure Statement”);

                      vii)    Emergency Motion to (a) Approve Maintenance of Certain
                              Pre-Petition Bank Accounts and Cash Management System,
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                        and (b) Continue Use of Existing Checks and Business
                        Forms and proposed interim and final Orders;

                viii)   Emergency Motion for an Order (a) Authorizing (1)
                        Payment of Pre-Petition Employee Wages, Salaries, and
                        Payroll Taxes, (2) Reimbursement of Employees for Pre-
                        Petition Business Expenses; and (b) Honoring of Existing
                        Benefit Plans and Policies at the Debtor’s Discretion in the
                        Ordinary Course of Business and proposed Order;

                ix)     Emergency Motion to Authorize (a) Continued Liability,
                        Property, and Other Insurance Programs, and (b) Payment of
                        All Obligations in Respect Thereof and proposed Order;

                x)      Emergency Motion for an Order (a) Prohibiting Utility
                        Companies from Altering, Refusing, or Discontinuing
                        Services, (b) Determining Adequate Assurance of Payment
                        for Future Utility Services, and (c) Establishing Procedures
                        for Determining Requests for Additional Adequate
                        Assurance of Payment for Post-petition Utility Services and
                        proposed Order;

                xi)     Emergency Motion for Order Authorizing the Debtor to Pay
                        Pre-petition Sales, Use, and Other Taxes And Related
                        Obligations and proposed Order;

                xii)    Emergency Motion of the Debtor for an Order Authorizing
                        the Debtor to Escrow Certain Entrance Fees and Refund
                        Certain Entrance Fees and proposed Order;

                xiii)   Emergency Motion to (a) Implement Certain Notice
                        Procedures; and (b) Implement Procedures to Maintain and
                        Protect Resident Information and proposed Order;

                xiv)    Emergency Motion for Entry of an Order Authorizing the
                        Debtor to (a) Maintain, Administer, and Modify Medical
                        Payment Refund Programs and Practices; and (b) Honor
                        Obligations Related Thereto and proposed Order;

                xv)     Emergency Motion for Entry of an Order Authorizing the
                        Debtor to [Assume] the Plan Support Agreement and
                        proposed Order (such Order, if entered, the “Plan Support
                        Assumption Order”);

                xvi)    Application to Approve Agreement with Bankruptcy
                        Management Solutions, Inc. d/b/a Stretto (“Stretto”) and
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                            Appoint Stretto as Claims, Noticing, Soliciting, and
                            Balloting Agent and proposed Order;

                    xvii)   Request for Consideration of Certain “First Day” Matters;
                            and

                    xviii) [Emergency Motion to Establish Deadlines for Filing Proofs
                           of Claim and Approving the Form and Manner of Noticing
                           Thereof and proposed Order].

           (b)     The Borrower shall take all commercially reasonable steps to obtain
    approvals for the Restructuring as expeditiously as is reasonably practicable under
    applicable law, including the solicitation of requisite acceptances by means of the
    Disclosure Statement.

           (c)     The Borrower shall take all commercially reasonable steps to obtain
    any and all requisite regulatory or third party approvals necessary to consummate
    the Restructuring as is reasonably practicable.

            (d)    The Borrower will take all commercially reasonable efforts to file
    the Chapter 11 Case, contemporaneously with the Bankruptcy Documents, no later
    than the Outside Petition Date (the date on which the Chapter 11 Case and
    Bankruptcy Documents are actually filed shall be referred to herein as the “Petition
    Date”).

            (e)    The Borrower shall take all reasonably necessary steps in seeking to
    obtain from the Bankruptcy Court an order confirming the Plan reasonably
    acceptable in form and substance to the Consenting Holders and the Trustee (the
    “Confirmation Order”) on or before the date that is one hundred (100) days after
    the Petition Date.

           (f)      The Borrower shall take all reasonably necessary steps to ensure that
    the Plan effective date occurs on or before the date that is one hundred and twenty
    (120) days after the Petition Date (the “Plan Effective Date”).

           (g)     The Borrower shall take no action inconsistent with the
    Restructuring, the transactions contemplated thereby, or the expeditious
    confirmation and consummation of such transactions, except as otherwise
    permitted by this Plan Support Agreement.

            (h)       Subject to the exercise of its fiduciary duties and except for the filing
    of the Chapter 11 Case by the Outside Petition Date as set forth herein, the Borrower
    shall not file a petition under the Bankruptcy Code or seek any similar relief without
    providing the Trustee and the Consenting Holders at least five (5) business days’
    written notice thereof.
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               (i)     In the event the Borrower proposes a plan of reorganization that does
       not comply with this Plan Support Agreement or that constitutes a Support
       Agreement Termination Event (as defined below), the Borrower will not assert that
       the Consenting Holders or the Trustee have expressly or impliedly supported,
       endorsed, or otherwise agreed to any financial information, including any
       projections or liquidation analysis, included in the Bankruptcy Documents or have
       otherwise agreed to or acknowledged any facts set forth in the Bankruptcy
       Documents.

               (j)     The Borrower will not:

                       i)      incur any further indebtedness with priority over the Bonds
                               except as contemplated in the DIP Motion;

                       ii)     transfer any assets other than in the ordinary course of its
                               business other than miscellaneous assets not necessary for
                               the operations of the Community; and

                       iii)    take any action that would result in entry of an order
                               terminating, whether in whole or in part, the Borrower’s
                               exclusive right to file a Chapter 11 plan pursuant to Section
                               1121 of the Bankruptcy Code.

        Notwithstanding the foregoing, nothing herein shall prevent a determination by the
Borrower subsequent to the Effective Date that its compliance with the covenants in this
Section 3 or any other obligations or agreement contained in this Plan Support Agreement
is no longer consistent with its fiduciary duties or applicable law as set forth in Section 11
hereof.

       4.    Agreements of Consenting Holders.

               (a)     Ownership. Each Consenting Holder represents and warrants that,
       as of the date hereof, such Consenting Holder either (i) is the sole legal or beneficial
       owner of a principal amount of the Bonds outstanding as set forth on Schedule 1
       hereto, and all related claims, rights, powers, and causes of action arising out of or
       in connection with or otherwise relating to such Bonds or the Bond Documents
       (collectively, the “Claims”), or (ii) has the power and authority to bind the legal
       and beneficial owner(s) of such Bonds and Claims to the terms of this Plan Support
       Agreement and, in either case, such Consenting Holder has full power and authority
       to vote on and consent to such matters concerning such Bonds outstanding and such
       Claims and to exchange, assign and transfer such Bonds and Claims.

               (b)     Restrictions on Transfers. Until this Plan Support Agreement has
       been terminated in accordance with Section 8, each Consenting Holder shall not
       voluntarily sell, transfer, or assign any of its Bonds or Claims or any option thereon
       or any right or interest (voting or otherwise) therein unless the transferee thereof (i)
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    has already executed this Plan Support Agreement or (ii) agrees in writing by
    executing the form of Joinder attached hereto as Exhibit 2 to be bound, for the
    benefit of the Parties, by all of the terms of this Plan Support Agreement. Subject
    to applicable securities and bankruptcy law, this Plan Support Agreement shall in
    no way be construed to preclude any Consenting Holder or any of its respective
    subsidiaries or affiliates from acquiring additional Bonds; provided, however, that
    any such additional Bonds acquired by such Consenting Holder or any subsidiary
    or affiliate thereof shall automatically be deemed to be subject to the terms of this
    Plan Support Agreement.

            (c)     Voting on the Plan. Subject to the terms and conditions of this Plan
    Support Agreement, and so long as this Plan Support Agreement has not been
    terminated, and further provided that the Disclosure Statement approved by the
    Bankruptcy Court contains information substantially similar to that set forth in the
    Disclosure Statement filed as part of the Bankruptcy Documents, each Consenting
    Holder will vote all claims that it holds or as to which it has voting authority with
    respect to the Bonds outstanding, the Claims, and all other claims, rights, or
    interests that exist against the Borrower to accept the Plan, provided that it is in a
    form substantially similar to that set forth in the Plan filed as part of the Bankruptcy
    Documents.

           (d)     Support. So long as this Plan Support Agreement has not been
    terminated, absent the consent of the Borrower, each Consenting Holder will not:

                   i)      support or encourage, directly or indirectly, any financial
                           restructuring or sale of assets concerning the Borrower or its
                           assets, other than the Restructuring;

                   ii)     take any action inconsistent with the Term Sheet, the
                           transactions contemplated hereby or thereby, or the
                           expeditious confirmation and consummation of such
                           transactions;

                   iii)    vote against the Plan or otherwise agree, consent, or provide
                           any support, to any other Chapter 11 plan or other
                           restructuring or sale or liquidation of assets concerning the
                           Borrower or its assets, other than the Restructuring;

                   iv)     object to or otherwise commence any proceeding to oppose
                           or alter the Plan or any of the terms of the Restructuring (or
                           any other document filed in furtherance of, and that is
                           consistent with the Restructuring);

                   v)      make (and will not direct the Trustee to make) any election
                           under Section 1111(b) of the Bankruptcy Code, and will vote
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                           against and/or direct the Trustee to object to any action or
                           motion to make such an election;

                   vi)     hinder, delay, oppose or otherwise interfere with
                           confirmation or consummation of the Plan, or any of the
                           transactions contemplated by the Restructuring; or

                   vii)    direct the Trustee to take any action or otherwise act in a
                           manner contrary to the terms of this Plan Support
                           Agreement.

            (e)     Adequate Information; Compliance with Section 1125(g) of the
    Bankruptcy Code. Each Consenting Holder has obtained “adequate information”
    (within the meaning of that phrase for purposes of Section 1125(a)(1) of the
    Bankruptcy Code) regarding the Restructuring and that the Borrower has provided
    all material, relevant information that the Consenting Holder has requested in
    advance of executing this Plan Support Agreement. Additionally, for purposes of
    this Plan Support Agreement, the solicitation of its support of the Plan in
    accordance with the terms and conditions hereof complies with applicable law and
    that each Consenting Holder was solicited in a manner complying with applicable
    law.

            (f)     Appearing in the Bankruptcy Court. Notwithstanding any provision
    in this Plan Support Agreement to the contrary, nothing in this Plan Support
    Agreement shall be construed to prohibit any Party from appearing as a party-in-
    interest in any matter to be adjudicated in the Bankruptcy Court so long as such
    appearance and the positions advocated in connection therewith are not inconsistent
    with this Plan Support Agreement and the Restructuring and are not for the purpose
    of hindering, delaying, or preventing the consummation of the Restructuring.

            (g)     Direct the Trustee. To the extent necessary, each Consenting Holder
    will direct the Trustee to take actions consistent with this Plan Support Agreement.

            (h)    Documents. The Consenting Holders shall direct the Trustee to take
    all reasonable efforts to draft or cause to be drafted the following documents in
    form and substance satisfactory to the Consenting Holders, (A) no later than the
    Outside Petition Date with respect to i) and ii) and (B) no later than the date of the
    hearing scheduled on the Disclosure Schedule for the remaining documents.

                   i)      DIP Credit Agreement;

                   ii)     DIP Orders;

                   iii)    2021 Indenture;

                   iv)     2021 Amended and Restated Master Trust Indenture;
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                      v)      2021 Deed of Trust; and

                      vi)     2021 Loan Agreement (collectively with the documents
                              listed in (i) through (iii) above, the “Plan Support
                              Documents”).

      5.       Representations and Warranties of the Borrower. The Borrower represents
and warrants to the Consenting Holders that the following statements are true, correct, and
complete as of the date hereof:

              (a)     it has all requisite corporate or similar authority to enter into this
       Plan Support Agreement and, subject to any necessary Bankruptcy Court approval,
       carry out the transactions contemplated hereby and perform its obligations
       contemplated hereunder, and the execution and delivery of this Plan Support
       Agreement and the performance of the Borrower’s obligations hereunder have been
       duly authorized by all necessary corporate or other similar action on its part;

                 (b)     the execution, delivery, and, subject to any necessary Bankruptcy
       Court approval, performance by such Borrower of this Plan Support Agreement
       does not and shall not violate any provision of law, rule, or regulation applicable to
       it or its certificate of formation or bylaws (or other similar governing documents);

                (c)    the execution, delivery, and performance by such Borrower of this
       Plan Support Agreement does not and shall not require any registration or filing
       with, consent or approval of, notice to, or other action to, with or by, any federal,
       state, or governmental authority or regulatory body except as provided on Schedule
       *;

               (d)     to the best of its knowledge, after reasonable diligence, the
       information provided in connection with the Restructuring and this Plan Support
       Agreement did not and does not contain any untrue statement of a material fact or
       omit to state a material fact necessary to make the statements made therein, in light
       of the circumstances under which they were made, not misleading; and

               (e)     this Plan Support Agreement is, and after the Petition Date but
       subject to the assumption of this Plan Support Agreement pursuant to Section 365,
       of the Bankruptcy Code shall be, a legally valid and binding obligation of the
       Borrower, enforceable in accordance with its terms.

        6.      Representations and Warranties of the Consenting Holders. Each
Consenting Holder represents and warrants to the Borrower that the following statements
are true, correct, and complete as of the date hereof:

               (a)    it has all requisite corporate, partnership, limited liability company,
       or similar authority to enter into this Plan Support Agreement and perform its
       obligations contemplated hereunder, and the execution and delivery of this Plan
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       Support Agreement and the performance of its obligations hereunder have been
       duly authorized by all necessary corporate, limited liability, partnership, or other
       similar action on its part;

               (b)     the execution, delivery, and performance by the undersigned of and
       under this Plan Support Agreement does not and shall not violate any provision of
       law, rule, or regulation applicable to it or any of its subsidiaries or its charter or
       bylaws (or other similar governing documents) or those of any of its subsidiaries;

               (c)     the execution, delivery, and performance by the undersigned of and
       under this Plan Support Agreement does not and shall not require any registration
       or filing with, consent or approval of, notice to, or other action to, with or by, any
       federal, state or governmental authority or regulatory body except as provided on
       Schedule *; and

               (d)    this Plan Support Agreement is the legally valid and binding
       obligation of such Consenting Holder, enforceable in accordance with its terms.

         7.      Alternative Transactions. From and after execution of this Plan Support
Agreement until it is terminated pursuant to Section 8 hereof, neither the Borrower nor any
of its officers, directors, employees, agents, representatives, or affiliates (including any
investment banker or financial advisor retained by the Borrower) shall, directly or
indirectly, encourage, solicit, or initiate any inquiry or proposal from, or encourage, solicit,
or initiate any negotiations with, or solicit or initiate any discussions with any person or
entity (other than the Consenting Holders and the Trustee or an affiliate, associate,
representative or agent of such parties) concerning any potential sale of the Borrower or
restructuring of the Borrower or a transaction that is similar to, in conflict with or in
substitution of the Restructuring pursuant to the terms hereof (each, an “Alternative
Transaction”), or agree to endorse or take any other action to facilitate any Alternative
Transaction, unless the Borrower has obtained the prior written consent of the Consenting
Holders holding all rights related to or otherwise having voting authority with respect to
75% of the principal amount of the Bonds held collectively by the Consenting Holders who
are signatory hereto (the “Requisite Consenting Holders”).

        Notwithstanding the foregoing, nothing herein shall prevent a determination by the
Borrower subsequent to the Effective Date that its compliance with the covenants in this
Section 7 or any other obligations or agreement contained in this Plan Support Agreement
is no longer consistent with its fiduciary duties or applicable law as set forth in Section 11
hereof.

       8.      Termination of Support Agreement. Upon the occurrence of any Support
Agreement Termination Event, this Plan Support Agreement shall be deemed terminated
upon written notice from the non-breaching Party to the breaching Party. In the event of
any such termination, all Parties shall be immediately relieved of any obligations
hereunder. If the Chapter 11 Case has been filed prior to such occurrence, such notice may
be provided as part of a motion for relief from the automatic stay; provided that nothing
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herein shall be deemed to require a motion for relief from the automatic stay to effect such
termination. Notwithstanding the above or anything else in this Plan Support Agreement
to the contrary, upon termination of this Plan Support Agreement, any Consenting Holder
shall be entitled as of right to change or withdraw its vote in favor of the Plan and be
relieved from all obligations of a Consenting Holder under this Plan Support Agreement
(collectively, a “Withdrawal”), with prior written notice thereof to the Borrower and, if
applicable, compliance with Rule 3018 of the Federal Rules of Bankruptcy Procedure
provided, however, that the Borrower shall have three (3) business days from receipt of
written notice of a Support Agreement Termination Event to seek a Bankruptcy Court
determination that no Support Agreement Termination Event has occurred or that a
Withdrawal was not otherwise permitted under this Plan Support Agreement. The
occurrence of any one or more the following shall constitute a “Support Agreement
Termination Event”:

                 (a) Failure by the Parties hereto to agree to the form and substance of
         any of the Plan Support Documents or the Bankruptcy Documents by the earlier
         of the Petition Date or the Outside Petition Date;

                (b) Any of the Bankruptcy Documents is withdrawn, materially
         modified or amended (except in the case of a document which is an interim order,
         by replacement with a final order that would otherwise meet the requirements of
         a Bankruptcy Document, or with the consent of the Consenting Holders and/or
         the Trustee);

                 (c)   The Borrower fails to file the Bankruptcy Documents on the Petition
         Date;

                 (d)   The Petition Date does not occur on or before the Outside Petition
         Date;

                 (e)   The Borrower:

                       i)     files or supports confirmation of, or fails to actively oppose
                              confirmation of, a plan of reorganization that requests or
                              would result in a withdrawal, modification, or amendment of
                              the Plan, or that, as to any provision of the Plan, materially
                              adversely affects the Consenting Holders;

                       ii)    files a motion, pleading, objection, lawsuit, or administrative
                              or adversary proceeding (or takes any action in support of
                              such a motion or pleading filed by another party) in the
                              Bankruptcy Court or other court, or otherwise assists in any
                              of the foregoing, that requests or would result in a
                              withdrawal, modification, or amendment (including in the
                              case of document which is an interim order, by replacement
                              with a final order) of the Restructuring; or
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                  iii)   files a motion, complaint, application, or other request
                         seeking to disallow, subordinate, or limit in any way the
                         Bonds held by the Consenting Holders, the Claims, or the
                         liens of the Consenting Holders and/or the Trustee, or
                         seeking entry of an order by the Bankruptcy Court
                         disallowing, subordinating, or limiting in any way the
                         Bonds, Claims, or liens of the Consenting Holders and/or the
                         Trustee, or asserting a claim against any Consenting Holder
                         and/or the Trustee to avoid any transfer or obligation, or
                         seeking any other monetary or equitable relief from or
                         against any Consenting Holder and/or the Trustee.

            (f)   Following the Petition Date, the Bankruptcy Court has:

                  i)     not entered an order authorizing the assumption of this Plan
                         Support Agreement under Section 365 of the Bankruptcy
                         Code within thirty (30) days of the Petition Date or such later
                         date as is agreed to in writing by the Requisite Consenting
                         Holders;

                  ii)    entered an order materially staying, reversing, vacating,
                         materially amending or modifying the DIP Orders (other
                         than the replacement of the interim order with the final
                         order) without the prior written approval of the Trustee, or
                         fails to enter the interim DIP Order on or before the date that
                         is eight (8) days after the Petition Date, or the final DIP
                         Order on or before the date that is twenty-seven (27) days
                         after the Petition Date on such terms as set out in the DIP
                         Orders;

                  iii)   not approved the Disclosure Statement on or before the date
                         that is forty-three (43) days after the Petition Date, or by such
                         later date as is agreed to in writing by the Requisite
                         Consenting Holders;

                  iv)    not entered the Confirmation Order on or before the date that
                         is one hundred (100) days after the Petition Date, or by such
                         later date as is agreed to in writing by the Requisite
                         Consenting Holders;

                  v)     entered an order denying confirmation of the Plan;

                  vi)    entered an order pursuant to Section 1104 of the Bankruptcy
                         Code appointing a trustee or appointing an examiner with
                         powers beyond the duty to investigate and report (as set forth
                         in Sections 1106(a)(3) and (4) of the Bankruptcy Code),
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                           including, without limitation, to operate and manage the
                           Borrower’s business (unless the motion resulting in such
                           order was filed or supported by the Trustee), or the Borrower
                           files a motion, application or other pleading consenting to or
                           acquiescing in any such appointment;

                   vii)    entered an order dismissing the Chapter 11 Case or an order
                           pursuant to Section 1112 of the Bankruptcy Code converting
                           the Chapter 11 Case to a case under Chapter 7 of the
                           Bankruptcy Code;

                   viii)   entered an order suspending the Chapter 11 Case under
                           Section 305 of the Bankruptcy Code;

                   ix)     entered an order in the Chapter 11 Case, over the objection
                           of the Trustee, approving financing pursuant to Section 364
                           of the Bankruptcy Code that (i) would grant an additional
                           security interest or a lien that is equal or senior to that of the
                           Trustee on any Collateral, or (ii) would grant to any party
                           other than the Trustee a super priority administrative claim
                           that is senior or equal to that granted to the Trustee under the
                           DIP Orders; or

                   x)      granted relief that is inconsistent with this Plan Support
                           Agreement or the Plan or that would result in a withdrawal,
                           modification, or amendment of the Restructuring that is
                           contrary to the Term Sheet and that has a material adverse
                           effect on the Consenting Holders; provided that such relief
                           has not resulted from any action or inaction by the
                           Consenting Holders or the Trustee.

             (g) The Plan Effective Date shall not have occurred by the date that is
      one hundred twenty (120) days after the Petition Date or by such later date as is
      agreed to by the Requisite Consenting Holders;

              (h) An injunction, judgment, order, decree, ruling, or charge shall have
      been entered that prevents consummation of the Restructuring and that remains
      in effect for longer than thirty (30) days;

            (i) There is a mutual written agreement to terminate this Plan Support
      Agreement by the Parties;

              (j) Failure by the Borrower to comply with any obligations under this
      Plan Support Agreement, other than those set forth in this Section 8 (which shall
      be an automatic termination), and such failure is not cured within five (5) business
      days after written notice thereof has been given to the Borrower;
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                (k)    Failure by the Borrower to comply with any obligations under this
         Section 8;

                (l) Pursuant to Section 11, the Borrower reasonably determines in good
         faith based upon the advice of legal counsel that proceeding with the
         Restructuring would be inconsistent with the exercise of its fiduciary duties or
         applicable law; and

                 (m) Failure by any of the Consenting Holders to comply with any of its
         obligations under this Plan Support Agreement, and such failure is not cured
         within five (5) business days after written notice thereof has been given by the
         Borrower to such Consenting Holder and the Trustee.

       A Support Agreement Termination Event may be waived in writing by the non-
defaulting Party.

        9.      Effect of Termination. Upon termination of this Plan Support Agreement,
all obligations hereunder, shall terminate and shall be of no force and effect, subject to the
provisions of Section 15.

       10.     No Administrative Expense Claim Created. Notwithstanding anything
contained in this Plan Support Agreement to the contrary, in the event this Plan Support
Agreement is terminated or breached subsequent to assumption thereof pursuant to the Plan
Support Assumption Order or otherwise, no administrative expense claim shall be created
or deemed to arise or exist in favor of any of the Consenting Holders or the Trustee.

         11.     Fiduciary Duty. Notwithstanding anything to the contrary herein, the
Borrower may terminate this Plan Support Agreement, the Plan and the Term Sheet if the
board of directors, or similar governing body of the Borrower determines, upon the advice
of counsel, that proceeding with the Restructuring would be inconsistent with the exercise
of its fiduciary duties or applicable law, after taking into account whether such actions
would materially benefit creditors. The Borrower shall provide three (3) Business Days’
notice to the Trustee prior to taking any action or refraining from taking any action in
reliance on this Section 11; provided, however, that the Trustee and/or the Consenting
Holders shall have three (3) business days from receipt of such notice to seek a Bankruptcy
Court determination challenging such exercise of the Borrower’s fiduciary duties,
including without limitation, seeking a determination from the Bankruptcy Court that the
actions or inactions by the Borrower described in this Section constitute an unlawful
exercise of its fiduciary duties.

        12.     Cooperation; Further Assurances; Acknowledgment; Definitive
Documents. The Parties shall cooperate with each other and shall coordinate its activities
(to the extent practicable) in respect of all commercially reasonable actions necessary to
consummate the Restructuring. The Parties further agree to execute and deliver such other
instruments and to perform such commercially reasonable acts, in addition to the matters
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herein specified, as may be appropriate or necessary, from time to time, to effectuate the
Restructuring.

       13.    Amendments. This Plan Support Agreement may not be modified, amended
or supplemented except in a writing signed by the Parties.

      14.  GOVERNING LAW; JURISDICTION. THIS PLAN SUPPORT
AGREEMENT SHALL BE GOVERNED BY, AND CONSTRUED IN ACCORDANCE
WITH, THE LAWS OF THE STATE OF TEXAS, WITHOUT REGARD TO ANY
CONFLICT OF LAWS PROVISIONS THAT WOULD REQUIRE THE APPLICATION
OF THE LAW OF ANY OTHER JURISDICTION. BY ITS EXECUTION AND
DELIVERY OF THIS PLAN SUPPORT AGREEMENT, EACH OF THE PARTIES
HEREBY IRREVOCABLY AND UNCONDITIONALLY AGREES THAT ANY
LEGAL ACTION, SUIT, OR PROCEEDING AGAINST IT WITH RESPECT TO ANY
MATTER UNDER, OR ARISING OUT OF OR IN CONNECTION WITH, THIS PLAN
SUPPORT AGREEMENT, OR FOR RECOGNITION OR ENFORCEMENT OF ANY
JUDGMENT RENDERED IN ANY SUCH ACTION, SUIT, OR PROCEEDING, SHALL
BE BROUGHT IN ANY FEDERAL OR STATE COURT IN THE STATE OF TEXAS
HAVING JURISDICTION, AND BY EXECUTION AND DELIVERY OF THIS PLAN
SUPPORT AGREEMENT, EACH OF THE PARTIES HEREBY IRREVOCABLY
ACCEPTS AND SUBMITS ITSELF TO THE EXCLUSIVE JURISDICTION OF EACH
SUCH COURT, GENERALLY AND UNCONDITIONALLY, WITH RESPECT TO
ANY SUCH ACTION, SUIT OR PROCEEDING; PROVIDED, THAT AFTER THE
PETITION DATE THE BANKRUPTCY COURT SHALL HAVE EXCLUSIVE
JURISDICTION OVER ANY ISSUES RELATING TO THIS PLAN SUPPORT
AGREEMENT PROVIDED THAT THE BANKRUPTCY COURT SHALL FOLLOW
APPLICABLE CHOICE OF LAW RULES.

        15.      Specific Performance; Damages for Breach. It is understood and agreed by
the Parties that the exact nature and extent of damages resulting from a breach of this Plan
Support Agreement are uncertain at the time of entering into this Plan Support Agreement
and that breach of this Plan Support Agreement would result in damages that would be
difficult to determine with certainty. It is understood that money damages would not be a
sufficient remedy for any breach of this Plan Support Agreement, and the Parties shall each
be entitled to seek specific performance and injunctive or other equitable relief as a remedy
of any such breach. Such remedies shall be deemed to be the exclusive remedies for breach
of this Plan Support Agreement by any Party or its representatives.

        16.     Survival. Notwithstanding any sale of the Bonds outstanding or Claims in
accordance with Section 4(b) of this Plan Support Agreement, the agreements and
obligations herein shall survive such sale and shall continue in full force and effect for the
benefit of the Borrower and the Consenting Holders in accordance with the terms hereof,
and any purchaser of such Bonds and/or Claims shall be bound by and subject to the terms
of this Plan Support Agreement. Notwithstanding termination of this Plan Support
Agreement, any liability of a Party for failure to comply with the terms of this Plan Support
Agreement shall survive such termination, subject to Section 15.
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        17.     Headings. The headings of the Sections, paragraphs, and subsections of this
Plan Support Agreement are inserted for convenience only, and shall not affect the
interpretation hereof.

        18.    Successors and Assigns; Severability; Several Obligations. This Plan
Support Agreement is intended to bind and inure to the benefit of the Parties and its
respective successors, assigns, heirs, executors, administrators, and representatives. The
invalidity or unenforceability at any time of any provision hereof shall not affect or
diminish in any way the continuing validity and enforceability of the remaining provisions
hereof. The agreements, representations, and obligations of the Consenting Holders under
this Plan Support Agreement are, in all respects, several and not joint.

        19.     No Third-Party Beneficiaries. Unless expressly stated herein, this Plan
Support Agreement shall be solely for the benefit of the Parties, and no other person or
entity shall be a third party beneficiary hereof.

        20.    Consideration. No consideration shall be due or paid to the Consenting
Holders and the Trustee for agreement of the Consenting Holders to support the
Restructuring and to vote in favor of the Plan in accordance with the terms and conditions
of this Plan Support Agreement, other than the Borrower’s agreement to pursue the
Restructuring and to file, pursue confirmation of, and implement the Plan in accordance
with the terms and conditions of this Plan Support Agreement, which the Parties
acknowledge is fair and sufficient consideration to support the Parties’ respective
agreements hereunder.

        21.      Prior Negotiations; Entire Agreement. This Plan Support Agreement
constitutes the entire agreement of the Parties related to the Restructuring, and supersedes
all other prior negotiations with respect to the subject matter hereof, except that the Parties
acknowledge that all Bond Documents shall continue in full force and effect.

        22.    Counterparts. This Plan Support Agreement and any amendments, joinders
(including the joinder in the form of Exhibit 2 hereto), consents, or supplements hereto,
may be executed in one or more counterparts, each of which shall be deemed an original
and all of which shall constitute one and the same agreement. Facsimile or scanned
signatures on this Plan Support Agreement shall be treated as originals for all purposes.

       23.     Construction. This Plan Support Agreement shall be deemed to have been
negotiated and prepared at the joint request, direction, and construction of the Parties, and
at arm’s length and shall be interpreted without favor to any Party.

       24.     Time of the Essence. Time shall be of the essence with respect to each and
every of the various undertakings and obligations set forth in this Plan Support Agreement.

     25.     Notices. All notices, demands, requests, consents, approvals, and other
communications (“Notice” or “Notices”) hereunder shall be in writing and delivered by (i)
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courier or messenger service, (ii) express or overnight mail, (iii) electronic mail, or (iv) by
registered or certified mail, return receipt requested and postage prepaid, addressed to the
respective parties as follows:

                       If to Borrower:

                               BUCKINGHAM SENIOR LIVING COMMUNITY, INC.
                               Attn: Michael Wyse
                               8580 Woodway Drive
                               Houston, TX 77063
                               Email: mwyse@wyseadvisorsllc.com

                       Copy to:

                               THOMPSON & KNIGHT LLP
                               Attn: Demetra Liggins
                               811 Main Street, Suite 2500
                               Houston, TX, 77002
                               Email: demetra.liggins@tklaw.com

                       If to Trustee:

                               UMB BANK, N.A.
                               Corporate Trust Services
                               Attn: Virginia Housum
                               120 Sixth Street South, Suite 1400
                               Minneapolis, MN 55402
                               Email: virginia.housum@umb.com

                       Copy to:

                               MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND
                               POPEO, P.C.
                               Attn: Daniel S. Bleck
                               One Financial Center
                               Boston, MA 02111
                               Email: dsbleck@mintz.com

                       Copy to: Consenting Bondholders
                                [See Schedule 1 Attached Hereto]

or to such other addresses as any Party may hereafter designate. Notice by courier or
messenger service or by express or overnight mail shall be effective upon receipt. Notice
by electronic mail shall be effective upon receipt. Notice by mail shall be complete at the
time of deposit in the United States mail system, but any right or duty to do any act or make
any response within any prescribed period or on a date certain after the service of such
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Notice given by mail shall be, without further action by any Party, automatically extended
three (3) days.

         26.     Reservation of Rights. Except as expressly provided in this Plan Support
Agreement, nothing herein is intended to, or does, in any manner waive, limit, impair, or
restrict the ability of any Party to protect and preserve its rights, remedies, and interests,
including its Claims. Nothing herein shall be deemed an admission of any kind. If the
transactions contemplated herein are not consummated, or this Plan Support Agreement is
terminated for any reason, the Parties hereto fully reserve any and all of its rights. Except
as required by the Bankruptcy Code to assume, perform, or disclose this Plan Support
Agreement, pursuant to Rule 408 of the Federal Rule of Evidence, any applicable state
rules of evidence, and any other applicable law, foreign or domestic, this Plan Support
Agreement and all negotiations relating thereto shall not be admissible into evidence in any
proceeding other than a proceeding to enforce its terms.

        27.     Nature of Consenting Holder Obligations. The obligations of each
Consenting Holder hereunder shall be several, and not joint with the obligations of any
other Consenting Holder herein, and no Consenting Holder shall be responsible in any way
for the performance of the obligations of any other Consenting Holder hereunder. Nothing
herein or in any other agreement or document, and no action taken by any Consenting
Holder pursuant hereto or thereto, shall be deemed to constitute the Consenting Holders as
a group, a partnership, an association, a joint venture or any other kind of entity, or to create
a presumption that the Consenting Holders are in any way acting in concert or as a group
with respect to such obligations or the transaction contemplated by this Plan Support
Agreement. Each Consenting Holder shall be entitled to protect and enforce its rights,
including without limitation, the rights arising out of this Plan Support Agreement, and it
shall not be necessary for any other Consenting Holder to be joined as an additional party
in the proceeding for such purpose.

        28.    Automatic Stay. The Borrower acknowledges that after any commencement
of the Chapter 11 Case, the giving of notice of termination by any Party pursuant to this
Plan Support Agreement or a withdrawal shall not be a violation of the automatic stay of
Section 362 of the Bankruptcy Code.

        29.     Support Agreement Not a Plan. This Plan Support Agreement does not
constitute a plan of reorganization or confirmation thereof under the Bankruptcy Code. The
Plan will not become effective unless and until the Bankruptcy Court enters an order
confirming the Plan and the Plan becomes effective in accordance with its terms. This Plan
Support Agreement is not intended to constitute a solicitation or acceptance of the Plan.

        [THE REMAINDER OF THIS PAGE IS INTENTIONALLY LEFT BLANK]
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                            BORROWER:


                            Buckingham Senior Living Community, Inc.


                            By:
                            Print Name: Michael Wyse
                            Title: Chair of the Board of Directors
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                             CONSENTING HOLDERS:




                                 20
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                                                          ML DRAFT 6/3/21


                            CONSENTING HOLDERS:




                            Aggregate principal amount of Bonds held on
                            execution date hereof: $

                            CUSIP                Amount




                                  20
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                                                           ML DRAFT 6/3/21


                            CONSENTING HOLDERS:




                                   Its Authorized Representative
                                   and not individually

                            Aggregate principal amount of Bonds held on
                            execution date hereof:




                                  20
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                             SCHEDULE 1
                        “CONSENTING HOLDERS”

Consenting Bondholder                          Principal Amount of
                                                  Bonds Owned
                                                      $


                                                    $

                                                    $




I                                                   $




                                                    $

                                                    $
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                             EXHIBIT 1

                           TERM SHEET
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                                  RESTRUCTURING TERM SHEET

This Restructuring Term Sheet (this “Term Sheet”), dated as of June 25, 2021 (the “Execution Date”), sets
forth certain of the principal terms and conditions of a financial restructuring (the “Restructuring
Transaction”) of the outstanding indebtedness of Buckingham Senior Living Community, Inc.
(“Buckingham”) including, without limitation, (i) Tarrant County Cultural Education Facilities Finance
Corporation Retirement Facility Revenue Bonds (Buckingham Senior Living Community, Inc. Project),
Series 2007 (the “Series 2007 Bonds”) issued pursuant to that certain Indenture of Trust dated as of July 1,
2007 (the “2007 Original Indenture”), between Tarrant County Cultural Education Facilities Finance
Corporation (the “Issuer”) and UMB Bank, N.A., as successor trustee (the “Trustee”), (ii) Tarrant County
Cultural Education Facilities Finance Corporation Retirement Facility Revenue Bonds (Buckingham Senior
Living Community, Inc. Project), Series 2014 (the “Series 2014 Bonds”) issued pursuant to the 2007
Indenture, as supplemented by Supplement No. 1 to the Indenture of Trust, dated as of July 1, 2007 (the
2007 Original Indenture, as supplemented, the “2007 Indenture”) and (iii) Tarrant County Cultural
Education Facilities Finance Corporation Retirement Facility Revenue Bonds (Buckingham Senior Living
Community, Inc. Project), Series 2015A Fixed Rate, Series 2015B-1 Tax Exempt Mandatory Paydown
Securities (TEMP- 80) and Series 2015B-2 Tax Exempt Mandatory Paydown Securities (TEMP- 50) (the
“Series 2015 Bonds” and together with the Series 2007 Bonds and Series 2014 Bonds, the “Existing
Bonds”) pursuant to that certain Indenture of Trust dated as of August 1, 2005 (the “2015 Indenture” and
together with the 2007 Indenture, the “Bond Indentures”) between the Issuer and the Trustee.

The Restructuring Transaction contemplates, among other things, the issuance of new Series 2021A Bonds
and an exchange (the “Proposed Exchange”) of the outstanding Existing Bonds in the aggregate principal
amount of approximately $140,340,000 for new Series 2021B Bonds (as such terms are hereinafter
defined). This Term Sheet contemplates the consummation of the Restructuring Transaction through a Plan
of Reorganization (the “Plan”) in a Chapter 11 proceeding of the Buckingham (the “Anticipated
Bankruptcy Proceeding”) pending before a court of a competent jurisdiction (the “Bankruptcy Court”) as
more fully described below.

This Term Sheet and the undertakings contemplated herein are subject in all respects to the negotiation,
execution and delivery of mutually acceptable definitive documentation between Buckingham, the Issuer,
the Bond Trustee, the Master Trustee (as defined below) and the members of an informal steering committee
comprised of bondholders currently holding 69% of the outstanding aggregate principal amount of Bonds
(the “Steering Committee”) and the solicitation process referenced herein.

THE TERM SHEET IS BEING PROVIDED AS PART OF A COMPREHENSIVE COMPROMISE
AND SETTLEMENT, EACH ELEMENT OF WHICH IS CONSIDERATION FOR THE OTHER
ELEMENTS AND AN INTEGRAL ASPECT OF THE PROPOSED RESTRUCTURING OF THE
BONDS. THE TERM SHEET IS SUBJECT TO FEDERAL RULE OF EVIDENCE 408 AND
COMPARABLE STATE STATUTES. NOTHING IN THE TERM SHEET SHALL CONSTITUTE
OR BE CONSTRUED AS AN ADMISSION OF ANY FACT OR LIABILITY, A STIPULATION
OR A WAIVER, AND EACH STATEMENT CONTAINED HEREIN IS MADE WITHOUT
PREJUDICE, SOLELY FOR SETTLEMENT PURPOSES, WITH A FULL RESERVATION AS
TO ALL RIGHTS, REMEDIES AND DEFENSES OF BUCKINGHAM, THE TRUSTEE, THE
MASTER TRUSTEE, THE STEERING COMMITTEE, AND ALL OTHER PARTIES.
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Capitalized terms not otherwise defined herein shall have the meanings given to them in the Bond
Indentures or that certain Master Trust Indenture dated as of July 1, 2007 (as amended and supplemented,
the “Master Indenture”) among Buckingham, and UMB Bank, N.A., as successor master trustee (the
“Master Trustee”).

                                       Terms of Restructuring

 Process                 The parties will undertake to effect this restructuring through a consensual plan
                         (the “Plan”) of reorganization under Chapter 11 of the United States Bankruptcy
                         Code in a case (the “Anticipated Bankruptcy Proceeding”) commenced by the
                         Buckingham in the United States Bankruptcy Court for the Southern District of
                         Texas (the “Bankruptcy Court”). As a part of this restructuring, Series 2021
                         Bonds will be issued pursuant to an Indenture of Trust (“2021 Indenture” and
                         together with all related documents necessary for the issuance of the Series 2021
                         Bonds, the “2021 Bond Documents”) between the Issuer, the Buckingham and
                         the Trustee. The Series 2021 Bonds (as defined below) will be issued after
                         confirmation of the Plan and on the effective date of the Plan (the “Effective
                         Date”).

 Debtor-in-              Prior to the commencement of the Anticipated Bankruptcy Proceeding, the
 Possession              Buckingham and the Master Trustee will enter into a mutually-satisfactory
 Financing               agreement (the “DIP Loan Agreement”) to provide the Buckingham post-
                         petition financing in the amount of $3.4 million (the “DIP Loan”), the terms and
                         conditions of which are contained in a separate term sheet.

 Consensual Cash         Before the commencement of the Anticipated Bankruptcy Proceeding, the
 Collateral              Buckingham and the Master Trustee will enter into a mutually-satisfactory
 Agreement               arrangement reflected in an agreed-cash collateral motion (the “Cash Collateral
                         Motion”) and interim and final orders (the “Cash Collateral Orders”) relating to
                         the Buckingham’s post-petition use of cash collateral.

 Plan and Disclosure     Before the commencement of the Anticipated Bankruptcy Proceeding, the
 Statement               Buckingham shall provide copies of drafts of the Plan and related disclosure
                         statement (the “Disclosure Statement”) and other pleadings, and documents,
                         including the 2021 Bond Documents (collectively, the “Solicitation
                         Documents”) to the Trustee for its review and consent. Any substantive
                         amendments, modifications or supplements to the Solicitation Documents shall
                         be reviewed by, and acceptable to, the Trustee; provided, however, that no
                         amendment, modification, or supplement shall be materially different from the
                         Term Sheet.

                         The Buckingham will file the Solicitation Documents and 2021 Bond Documents
                         that are acceptable to the Trustee and the Steering Committee, which contains the
                         terms and conditions outlined in this Term Sheet, contemporaneously with the
                         filing of the Anticipated Bankruptcy Proceeding.


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Series 2021A Bonds   The Series 2021A Bonds shall be issued as current paying bonds in the principal
                     amount of $28,500,000. There shall be a Series 2021A-1 Bonds which are tax-
                     exempt and a Series 2021A-2 Bonds which are taxable. The Series 2021A
                     Bonds will be privately placed with certain members of the Steering Committee.
                     Proceeds of the Series 2021A Bonds shall fund (i) payment of the Charter Refund
                     Obligations (as defined below) in the approximate amount not to exceed $2.366
                     million, (ii) lobby refurbishment and capital expenditures in the amount of
                     $3.450 million, (iii) working capital in the approximate amount of $13.650
                     million, (iv) a debt service reserve fund in the amount of $8.442 million and
                     (v) costs of issuance. To the extent that there are amounts held under the Bond
                     Indentures and Master Indenture after fully funding the Debt Service Reserve
                     Fund Requirement as set forth below under “Debt Service Reserve Fund”, the
                     excess amount shall be used to reduce the par amount of the Series 2021A Bonds,
                     dollar for dollar.

                     The Series 2021A Bonds shall bear interest at 7.5% per annum. The Series
                     2021A Bonds shall be interest only for the first four years, with a maturity in 16
                     years. Amortization schedule for the Series 2021A Bonds is as set forth on
                     Schedule “A” attached hereto.

                     The Series 2021A Bonds will be subject to mandatory redemption from Excess
                     Cash after repayment of the obligations and liabilities due and owing under
                     certain life care residence agreements of former life care resident listed as set
                     forth on Schedule “B” attached hereto (the “Pre-Petition Refund Queue”). The
                     Series 2021A-2 Bonds will be redeemed prior to the Series 2021A-1 Bonds.

Series 2021B         On the Effective Date, the holders of the Existing Bonds shall exchange the then
Bonds/Exchange       outstanding Existing Bonds for Series 2021B Bonds (and together with the Series
                     2021A Bonds, the “Series 2021 Bonds”). The principal amount of the Series
                     2021B Bonds is equal to 100% of the principal amount of the Existing Bonds.
                     Accrued and unpaid interest on the Existing Bonds will be cancelled on the
                     Exchange Date.

                     The Series 2021B Bonds will accrete interest at the minimum long-term
                     applicable federal rate in effect on the Effective Date until the earlier of (i) 5
                     years from the Effective Date and (ii) the Pre-Petition Refund Queue being paid
                     in full (the “Trigger Date”). Starting with the Trigger Date, the accreted
                     principal amount will pay current interest at 5.0% until the Par Call Date (as
                     defined below) and 5.625% thereafter. The Series 2021B Bonds will be interest
                     only until year 17 and shall amortize from years 17 to 40. The amortization
                     schedule for the Series 2021B Bonds is as set forth on Schedule “B” attached
                     hereto.

                     The Series 2021B Bonds will be subject to optional redemption prior to maturity
                     commencing on the 5th year after the Effective Date at a redemption price of
                     105% in year 5, 104% in year 6, 103% in year 7, year 102% in year 8 and year

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                    101% in year 9 and 100% in year 10 (year 10 is the “Par Call Date”) at a price
                    equal to par. The Series 2021B Bonds will also be subject to mandatory
                    redemption from Excess Cash after the Series 2021A Bonds are paid in full. Any
                    mandatory redemption of the Series 2021B Bonds from Excess Cash or optional
                    redemption shall be credited to reduce mandatory sinking fund redemptions pro
                    rata in future years.

Priority/Security   The Series 2021A Bonds will be secured by a first priority lien on all assets of
                    Buckingham and will be senior to the Series 2021B Bonds in repayment and
                    security. The Series 2021B Bonds will be secured by a lien on all assets of
                    Buckingham subordinate to the lien securing the Series 2021A Bonds. The Pre-
                    Petition Refund Queue is unsecured.


Indenture Held/Buckingham Held Funds

Operating Account   Upon the Effective Date, Buckingham shall hold and maintain an operating
                    account (the “Operating Account”), which shall be subject to the lien of the
                    Trustee under the 2021 Indenture pursuant to a deposit account control agreement
                    with a depository bank that is reasonably acceptable to the Master Trustee. The
                    Operating Account shall contain no more than [45] Days Cash on Hand as an
                    unrestricted reserve amount funded as of the Effective Date (the “Unrestricted
                    Reserve Amount”).

Revenue Fund        The 2021 Indenture shall establish a Revenue Fund with the Trustee, subject to
                    the lien of the 2021 Indenture, pursuant to which all revenues and other income
                    of Buckingham (the “Revenues”), shall, upon the Effective Date, be deposited
                    into a revenue fund (the “Revenue Fund”). Funds from the Revenue Fund shall
                    be withdrawn and disbursed pursuant to the Distribution Waterfall below.

Operating Reserve   Upon the Effective Date, Buckingham shall maintain an Operating Reserve Fund
Fund                with the Trustee, subject to the lien of the 2021 Indenture. The Operating
                    Reserve Fund will be funded on the Effective Date from proceeds of the Series
                    2021A Bonds and cash available through the Distribution Waterfall on the
                    Effective Date. The Operating Reserve Fund Requirement shall be $[105
                    DCOH] (the “Operating Reserve Fund Requirement”).

Bond Fund           Upon the Effective Date, Buckingham shall establish a Bond Fund (the “Bond
                    Fund”) under the 2021 Indenture, subject to the lien of the 2021 Indenture, with
                    subaccounts for each series of Series 2021 Bonds. In accordance with the
                    Distribution Waterfall below, the Bond Fund will receive monthly payments of
                    principal and interest due and payable under the Series 2021 Bonds.




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Repair and          Proceeds of the Series 2021A Bonds issued for capital expenditures (lobby and
Replacement Fund    unit refurbishment) will be deposited in the Repair and Replacement Fund and
                    will expended in accordance with budget.

                    The Buckingham shall expend not more than the amount set forth in Schedule
                    “C” hereto in each year for capital expenditures, provided that any unspent
                    amounts in one year may be spent in later years.

Entrance Fees and   Any refund obligations that are due and owing prior to the Petition Date of the
Entrance Fee Fund   Plan are part of the “Pre-Petition Refund Queue” exclusive of the amounts due
                    and owing for those “180 day” contracts set forth on Schedule “D” attached
                    hereto (such obligations defined herein as the “Charter Refund Obligations”).
                    The Pre-Petition Refund Queue obligations are set forth on Schedule “E”
                    attached hereto. Any refund obligations that become due and owing after the
                    Petition Date are “Post-Petition Refund Obligations”. Amounts available to pay
                    Pre-Petition Refund Queue obligations shall be as set forth in the Distribution
                    Waterfall below with any funds available to pay such amounts to be distributed
                    on a pro rata basis to the holders of the Pre-Petition Refund Queue on a semi-
                    annual basis.

                    Upon the Effective Date, all Entrance Fees earned on move ins shall be deposited
                    with the Trustee in the Entrance Fee Fund. Moneys in the Entrance Fee Fund
                    shall be first used to pay refunds due and owing with respect to any Post-Petition
                    Refund Obligations with any remaining amounts deposited into the Revenue
                    Fund to be disbursed in accordance with the Distribution Waterfall.

                    Upon the Effective Date there shall be made a payment made to the holders of
                    the Charter Refund Obligations equal to the full amount outstanding to such
                    holders as set forth on Schedule “D” in full and complete satisfaction of such
                    claims.

                    Entrance Fees shall be set forth in an Exhibit to the new Bond Documents.
                    Neither the Buckingham nor the Manager shall be permitted to discount or
                    provide incentives equivalent to discounts except as agreed to by the Majority
                    Holders. Permitted Discounts to be discussed in the context of the projections
                    and Solutions Advisors recommendations.

Debt Service        Upon the Effective Date, Buckingham shall establish a Debt Service Reserve
Reserve Fund        Fund (the “New Debt Service Reserve Fund”) under the 2021 Indenture, subject
                    to the lien of the 2021 Indenture. The New Debt Service Reserve Fund shall
                    have three subaccounts for the Series 2021A-1 Bonds, Series 2021A-2 Bonds and
                    Series 2021B Bonds. Proceeds of the Series 2021A Bonds shall fund the
                    subaccount(s) for the Series 2021A Bonds. All amounts held by the Trustee in
                    the Debt Service Reserve Fund with respect to the Existing Bonds, after the
                    payment of the Trustee’s fees and expenses shall be transferred to the subaccount
                    for the Series 2021B Bonds in the New Debt Service Reserve Fund up to the

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                  Debt Service Reserve Fund Requirement (as defined below). To the extent of
                  any initial shortfall therein or deficiency, the subaccount for the Series 2021B
                  Bonds in the New Debt Service Reserve Fund shall also be partially funded from
                  the proceeds of the Series 2021A Bonds, any available cash on hand and also
                  funded from the Distribution Waterfall. To the extent that there are amounts
                  available after fully funding the Debt Service Reserve Fund Requirement, the
                  excess amount shall be used to reduce the par amount of the Series 2021A Bonds,
                  dollar for dollar. The New Debt Service Reserve Fund shall not become an asset
                  of Buckingham, but shall remain funds held by the Trustee for the benefit of the
                  holders of the Series 2021 Bonds. The Debt Service Reserve Fund Requirement
                  shall equal $11,586,000.

                  A draw on the New Debt Service Reserve Fund shall constitute an Event of
                  Default.

Distribution      On the Effective Date, the balances of the Operating Account on the Effective
Waterfall         Date and any Revenues available to Buckingham at such time, shall be applied in
                  the following order of priority:

                      1. to pay all professional fees and expenses incurred in connection with the
                         Restructuring Transaction (including, without limitation, any costs
                         associated with obtaining opinions from bond counsel) subject to an
                         agreed upon budget;
                      2. to fund the Unrestricted Reserve Amount in an amount equal to
                         approximately 45 Days Cash on Hand;
                      3. to fund the Operating Reserve Fund up to 105 Days Cash on Hand;
                      4. to fund the 2021B subaccount of the New Debt Service Reserve Fund up
                         to the Debt Service Reserve Fund Requirement.


                  Thereafter, all post-Effective Date Revenues of Buckingham (other than Entrance
                  Fees) shall be deposited in the Revenue Fund, as applicable; provided, however,
                  that Revenues with respect to any government payor shall be deposited into an
                  account in the name of Buckingham, and such Revenues shall be swept into the
                  Revenue Fund on a weekly basis.

                  Subject to the next sentence, amounts on deposit in the Revenue Fund shall be
                  made available to Buckingham on a monthly basis to satisfy ongoing operations
                  and management costs and expenses of Buckingham, including, without
                  limitation, any management fees, budgeted capital expenditures relating to
                  Corporation (exclusive of those amounts to be drawn from the Repair and
                  Replacement Fund) and replenishment up to the Unrestricted Reserve Amount
                  (collectively, the “Operating Expenses”). On the first day of each calendar
                  month, monies in the Revenue Fund shall be distributed in the following order of
                  priority (the “Distribution Waterfall”):


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                 First, to transfer to the Operating Account the amount certified by
                  Buckingham (in a certificate setting forth in reasonable detail the projected
                  application of the amount so certified) as necessary to pay anticipated
                  Operating Expenses for the upcoming month (taking into account any
                  unapplied amount withdrawn for such purpose in a prior month);

                 Second, to the Series 2021A Bonds subaccount of the Bond Fund, in an
                  amount equal to 1/6th of the interest due on the next interest payment date;

                 Third, to the Series 2021A Bonds subaccount of the Bond Fund, in an
                  amount equal to 1/12th of the principal due on the next principal payment
                  date;

                 Fourth, if and to the extent payable within the next succeeding 6 month
                  period, to the Series 2021B Bonds subaccount of the Bond Fund, in an
                  amount equal to 1/6th of the interest due on the next interest payment date;

                 Fifth, to the Series 2021B Bonds subaccount of the Bond Fund, if and to the
                  extent principal is due within the next 12 month period, in an amount equal
                  to 1/12th of the principal due on the next principal payment date;

                 Sixth, to replenish any deficiency in the New Debt Service Reserve Fund
                  necessary to make the amount therein equal the Debt Service Reserve Fund
                  Requirement; and

                 Seventh, any remaining amounts after application of paragraphs first to sixth
                  above (such remaining amounts referred to as “Excess Cash”) shall be
                  transferred as follows:

                         o   Until the amount on deposit in the Operating Account and the
                             Operating Reserve Fund (collectively, the “Operating Cash”)
                             equals 150 Days Cash on Hand (tested as of the end of each
                             fiscal quarter), to the Operating Reserve Fund,

                         o   Then, from the time the Operating Cash equals 150 Days Cash
                             on Hand until the Pre-Petition Refund Queue is paid in the full,
                             100% of the Excess Cash in excess of 150 Days Cash on Hand to
                             pay the Pre-Petition Refund Queue (payments shall be made on
                             the Pre-Petition Refund Queue semi-annually upon
                             determination of the Days Cash on Hand on each June 30 and
                             December 31),

                         o   Once the Pre-Petition Refund Queue is paid in the full, 100% of
                             the Excess Cash in excess of 150 Days Cash on Hand to redeem
                             the Series 2021A-2 Bonds and then the Series 2021A-1 Bonds
                             (redemptions shall occur semi-annually upon determination of
                             the Days Cash on Hand on each June 30 and December 31),

                         o   Once the Series 2021A Bonds are paid in full, Excess Cash in
                             excess of 150 Days Cash on Hand to redeem the Series 2021B
                             Bonds (redemptions shall occur semi-annually upon



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                                     determination of the Days Cash on Hand on each June 30 and
                                     December 31).


Operating/Financial Covenants

Days Cash on Hand    Days Cash on Hand requirement of not less than (i) 85 Days Cash on Hand as of
                     each of December 31, 2021, June 30, 2022 and December 31, 2022 and (ii) 110
                     Days Cash on Hand commencing on June 30, 2023 and on each Testing Date
                     thereafter (each such requirement, the “DCOH Target”). Buckingham shall
                     provide reporting of Days Cash on Hand quarterly, the Days Cash on Hand
                     covenant will be tested semi-annually on each June 30 and December 31 (each, a
                     “Testing Date”).

                     “Days Cash on Hand” means, as of the date of calculation, the amount
                     determined by dividing (a) the amount of Cash and Investments on such date by
                     (b) Expenses (including interest on Indebtedness, but excluding (i) provisions for
                     bad debt amortization, depreciation, or any other non cash expenses and (ii)
                     capital expenditures) as shown on the most recent annual audited financial
                     statements (or, with respect to any calculation of Days Cash on Hand as of any
                     June 30, as reflected in the unaudited trailing twelve month financial statements
                     for the period ending such June 30, as derived from the quarterly financial
                     statements), by 365; provided that for the Days Cash on Hand calculation
                     performed to determine amounts available to redeem the Series 2021A Bonds
                     from Excess Cash, interest expense on the Series 2021B Bonds prior to the
                     Trigger Date shall calculated using 5% per annum.

                     “Cash and Investments” means the sum of cash, cash equivalents and marketable
                     securities of the Obligated Group Members, including without limitation
                     board-designated assets and amounts, if any, and moneys on deposit in the
                     Revenue Fund and the Operating Reserve Fund, but excluding (a) all trustee-held
                     funds other than those described above in this definition, (b) donor-restricted
                     funds and (c) any funds pledged or otherwise subject to a security interest for
                     debt other than the Obligations, as shown on the most recent audited or unaudited
                     financial statements of the Obligated Group.

                     “Expenses” means, for any period, the aggregate of all expenses calculated under
                     generally accepted accounting principles, including without limitation any
                     accrual for taxes, assessments and insurance, incurred by the Person or group of
                     Persons involved during such period, but subtracting (a) interest on Funded
                     Indebtedness, (b) depreciation and amortization (c) extraordinary expenses,
                     losses on the sale of assets other than in the ordinary course of business and
                     losses on the extinguishment of debt or termination of pension plans, (d) any
                     expenses resulting from a forgiveness of or the establishment of reserves against
                     Indebtedness of an Affiliate which does not constitute an extraordinary expense,
                     (e) losses resulting from any reappraisal, revaluation or write down of assets
                     other than bad debts, (f) non cash expenses or losses, (g) any development,
                     marketing, operating, or other management fees that have been deferred from the
                     year in which they were originally due. If such calculation of Expenses is being
                     made with respect to the Obligated Group, any such expenses attributable to
                     transactions between any Member and any other Member shall be excluded.

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Additional            [TBD]
Permitted
Indebtedness

Debt Service          Commencing with December 31, 2024 (the “Initial Testing Date”), Buckingham
Coverage Ratio        shall achieve a debt service coverage ratio of not less than 1.1x as of each Testing
                      Date (with the calculation excluding capital expenditures and the Pre-Petition
                      Refund Queue payments). This ratio will include net Entrance Fees (i.e.,
                      Entrance Fees, including Initial Entrance Fees, received during such period
                      minus Entrance Fees refunded during such period) in the numerator and the
                      denominator will be Maximum Annual Debt Service on the Series 2021 Bonds.

IL Occupancy          Commencing with the first fiscal quarter following the Effective Date,
Covenants             Buckingham will have occupied independent living (“IL”) units equal to or
                      above the levels set forth for the prior fiscal quarter (as of the end of such prior
                      fiscal quarter) in the projections attached hereto as Schedule “E” (the “IL
                      Occupancy Covenant”).

Assisted Living and   Commencing with the first fiscal quarter following the Effective Date,
Nursing Center        Buckingham shall achieve and maintain an occupancy level for healthcare units
Occupancy             (total occupancy of Assisted Living (“AL”) units and Nursing Center (“NC”)
Covenants             units), as set forth on Schedule “F” which shall be measured as the average
                      combined occupancy of the Healthcare units, as applicable, during such fiscal
                      quarter (the “Healthcare Occupancy Covenant”).

Trades Payable        Buckingham shall maintain its trade payables such that 90% of all trade payables
Covenant              will be less than 75 days past due and no trade payable shall be greater than 100
                      days past due unless being contested in good faith.

Failure to meet           (i) If Buckingham fails to meet the Days Cash on Hand, the Healthcare
covenants                     Occupancy Covenant or the Debt Service Coverage Ratio (except as set
                              forth in (iii) below) or if the Buckingham fails to generate Excess Cash in
                              accordance with the projections, with a 10% variance on any Testing
                              Date, then upon the first occurrence of such non-compliance,
                              Buckingham shall be required to retain a management consultant
                              acceptable to the holders of not less than a majority of the outstanding
                              aggregate principal amount of the Series 2021A Bonds and if none are
                              outstanding then the outstanding aggregate principal amount of the Series
                              2021B Bonds (“Majority Holders”), to provide a report and
                              improvement plan to the Trustee. If Buckingham fails to meet the IL
                              Occupancy Covenant (except as set forth in (iii) below), then upon the
                              first occurrence of such non-compliance, Buckingham shall be required
                              to retain a marketing consultant acceptable to the Majority Holders to
                              provide a report and improvement plan to the Trustee.

                        (ii)   If Buckingham fails to meet the Days Cash on Hand, the Debt Service
                               Coverage Ratio or Healthcare Occupancy Covenant by the end of the
                               second quarter after the report and improvement plan are provided,

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                               Buckingham shall, at the direction of the Majority Holders, replace the
                               management company with a management company acceptable to such
                               holders. If Buckingham fails to meet the IL Occupancy Covenant by the
                               end of the second quarter after the report and improvement plan are
                               provided, Buckingham shall, at the direction of the Majority Holders,
                               hire a third party marketing company or replace the existing one with a
                               company acceptable to the Majority Holders.

                         (iii) If Buckingham fails to meet the Days Cash on Hand, the IL Occupancy
                               Covenant, the Healthcare Occupancy Covenant or the Debt Service
                               Coverage Ratio for two consecutive testing dates, then such non-
                               compliance will constitute an Event of Default under the 2021 Indenture.
                               If on any Testing Date, commencing June 30, 2024, the Debt Service
                               Coverage Ratio is 1.0x, it shall constitute an Event of Default under the
                               2021 Indenture. If the Days Cash on Hand is at or below (i) 75 Days
                               Cash on Hand as of December 31, 2021, June 30, 2022 or December 31,
                               2022 or (ii) 100 Days Cash on Hand commencing on June 30, 2023 and
                               on each Testing Date thereafter, it shall constitute an Event of Default
                               under the 2021 Indenture.

Property Tax        Buckingham shall use its best efforts to maintain an exemption from Texas
Exemption           property taxes, and to meet the benevolent care requirements for any such
                    exemption.


Reporting Requirements

Reporting           Buckingham shall deliver monthly financial statements (including a balance
                    sheet, an income statement, an escrow statement and a cash flow statement) and a
                    monthly report on marketing, occupancy and sales within [45] days following the
                    prior month end comparing actual results to budget and shall include an
                    explanation of variances of more than 10% from budgeted amounts. Such
                    financial statements shall also include an Entrance Fee analysis.

                    Buckingham shall enter into a new Continuing Disclosure Agreement providing
                    for the same reporting as required by the existing Continuing Disclosure
                    Agreement (in addition to the information required above), except for any
                    amendments thereto required to reflect changes to Rules 15c2-12.




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Update Calls          Until the first year from the Effective Date, Buckingham shall hold monthly calls
                      for holders of the Series 2021 Bonds. After such time, Buckingham shall hold
                      quarterly calls if and to the extent there are no covenant defaults or other defaults
                      under the 2021 Bond Documents in which case such calls shall continue on a
                      monthly basis.


General Provisions

Management            The management company for Buckingham and the terms and conditions of the
Contract              management agreement as of the Effective Date shall be as agreed to by
                      Buckingham with the approval of the Master Trustee (the “Management
                      Agreement”). Buckingham shall not terminate, modify or amend the
                      Management Agreement without the prior consent of the Master Trustee; the
                      Master Trustee shall have the right to approve any Manager of the Facility.

Bond Counsel          The Buckingham shall provide the Bond Trustee an opinion of Bond Counsel to
                      the effect that the interest on the Series 2021A-1 Bonds and 2021B Bonds is
                      excludable from the gross income of the owners thereof for federal income tax
                      purposes.

Solutions Advisors    Buckingham, the Manager and the Steering Committee will review the strategy
                      and timeline recommendations set forth by Solutions Advisors. This term sheet
                      is expressly conditioned upon The Buckingham, the Manager and the Steering
                      Committee agreeing upon the Solutions Advisors recommendations, as such
                      recommendations may be revised pursuant to discussions among The
                      Buckingham, the Manager and the Steering Committee. In taking any actions or
                      implementing any Solutions Advisors recommendations, Buckingham and its
                      Board of Directors will do so consistent with its fiduciary duties.

New 2021 Bond         The 2021 Bond Documents shall be prepared or, as applicable, amended and
Documents             modified in a manner necessary to effectuate the Restructuring Transaction. The
                      2021 Bond Documents and other agreements governing the Restructuring
                      Transaction shall contain such additional provisions as acceptable to the Steering
                      Committee and consistent with the Term Sheet.

Release/Exculpation   The Restructuring Transaction contemplated by the Term Sheet shall contain
                      customary release, injunction and exculpation provisions for all Parties to the
                      Restructuring Transaction to the extent available under applicable law. The
                      Parties hereby agree that they will use respective best efforts to obtain approval
                      of such release, injunction and exculpatory provisions, which by way of example
                      only shall include opposing any effort by any person or entity that is not a party
                      to this Term Sheet to eliminate or reduce the scope of such release, injunction
                      and exculpation provisions.




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Binding Effect    The obligation of each of the undersigned parties to pursue the Restructuring
                  Transaction in accordance with the terms hereof is subject to (i) the negotiation,
                  execution and delivery of mutually acceptable final documentation, (ii)
                  satisfactory review and analysis of the marketing plan and sales projections by
                  Solutions Advisors, (iii) receipt of all necessary consents, including any consent
                  of any party’s credit or other committee or board of directors and any regulatory
                  approvals, (iv) receipt of a satisfactory tax opinion confirming that the interest on
                  the Series 2021B Bonds (and the maximum amount allowed for with respect to
                  Series 2021A Bonds) will be excluded from gross income for federal income tax
                  purposes under the Internal Revenue Code, and (v) confirmation of the Plan
                  pursuant to an order of confirmation acceptable to Buckingham and the Trustee.

Miscellaneous     This Term Sheet shall be governed by the laws of the State of Texas without
                  regard to conflict of laws principles.

                  This Term Sheet may be executed in one or more counterparts, and when all
                  counterparts have been executed, each executed counterpart will have the force
                  and effect of the original.

Timeline          June 28, 2021 – Petition Date (filing of Plan, related Disclosure Statement, DIP
                  Motion, related first day pleadings and definitive bond documents);
                  July 5, 2021 – Entry of interim DIP Order;
                  July 23, 2021 – Entry of final DIP Order:
                  August 9, 2021 – Approval of Disclosure Statement and Solicitation Procedures;
                  August 13, 2021 – Solicitation of Plan;
                  September 20, 2021 – Confirmation of Plan; and
                  October 5, 2021 – Effective Date of Plan




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                                    Schedule A

                  Amortization Schedule – Series 2021A Bonds


        Year After Effective Date          Principal Amount
                  2026                      $1,547,000
                  2027                        1,663,000
                  2028                        1,788,000
                  2029                        1,922,000
                  2030                        2,066,000
                  2031                        2,221,000
                  2032                        2,387,000
                  2033                        2,566,000
                  2034                        2,759,000
                  2035                        2,966,000
                  2036                        3,188,000
                  2037                        3,427,000
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                                    Schedule B

                  Amortization Schedule – Series 2021B Bonds

        Year After Effective Date          Principal Amount
                  2038                      $2,870,000
                  2039                        3,031,000
                  2040                        3,202,000
                  2041                        3,382,000
                  2042                        3,572,000
                  2043                        3,773,000
                  2044                        3,985,000
                  2045                        4,210,000
                  2046                        4,446,000
                  2047                        4,696,000
                  2048                        4,961,000
                  2049                        5,240,000
                  2050                        5,534,000
                  2051                        5,846,000
                  2052                        6,175,000
                  2053                        6,522,000
                  2054                        6,889,000
                  2055                        7,276,000
                  2056                        7,685,000
                  2057                        8,118,000
                  2058                        8,574,000
                  2059                        9,057,000
                  2060                        9,566,000
                  2061                      26,336,000
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                                Schedule C

                            Capital Expenditures



                     Year              Maximum Amount
                     2021                   [TBD]
                     2022               Only from RRF
                     2023                 $2,100,000
                     2024                  2,250,000
                     2025                  2,400,000
                     2026                  2,550,000
                     2027                  2,700,000
                     2028                  2,900,000
                     2029                  3,100,000
                     2030                  3,300,000
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                               Schedule D

                        Charter Refund Obligations



                       Apartment #       Refund
                                        Amount
                          1324          $404,100
                          2214          $339,900
                          1221          $359,900
                          1424          $379,900
                          Total        $1,483,800
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                             EXHIBIT 2

                             JOINDER
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                                      FORM OF JOINDER

        This Joinder to the Plan Support Agreement, dated as of [__________] [__], 2021, by and
among the Borrower and the Consenting Holders (the “Support Agreement”), is executed and
delivered by ___________ (the “Joining Party”) as of _________, 2021. Each capitalized term
used herein but not otherwise defined shall have the meaning set forth in the Support Agreement.

         1. Agreement to be Bound. The Joining Party hereby agrees to be bound by all of the
terms of the Plan Support Agreement (and all exhibits and annexes thereto), attached to this Joinder
as Annex I (as such Plan Support Agreement, exhibits and annexes may be hereafter amended,
restated, or otherwise modified from time to time). The Joining Party shall hereafter be deemed
to be a “Consenting Holder” and a “Party” for all purposes under the Plan Support Agreement.

         2. Representations and Warranties. With respect to the Bonds set forth below its name
on the signature page hereof and all related claims, rights, and causes of action arising out of or in
connection with or otherwise relating to such Bonds, the Joining Party hereby makes to the
Borrower the representations and warranties of the Consenting Holders set forth in the Plan
Support Agreement.

        3. Notices. For purposes of notices and other communications to be delivered to the
Joining Party the relevant addresses and facsimile numbers are set forth below.

        4. Governing Law. This Joinder shall be governed by and construed in accordance with
the laws of the state of Texas, without regard to any conflict of laws provisions that would require
the application of the law of any other jurisdiction.
                                              *****

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